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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re:                                             Case No. 18-09130

ROBERT M. KOWALSKI,                                Chapter 7

                  Debtors.                         Hon. Jacqueline P. Cox

                                                   Hearing Date: January 16, 2019
                                                   Hearing Time: 9:30 a.m.

                                   NOTICE OF MOTION

TO:      PARTIES ON ATTACHED SERVICE LIST

         PLEASE TAKE NOTICE that on Wednesday, January 16, 2019, at 9:30 a.m., or as
soon thereafter as counsel may be heard, we shall appear before the Honorable Jacqueline P. Cox
in Courtroom 680 at 219 South Dearborn Street, Chicago, Illinois, or before any other judge
sitting in her place and stead, and present the following Trustee’s Motion for Turnover of
Possession of Real Property, at which time and place you may appear if you so desire.

Dated: January 9, 2019                     Respectfully submitted,


                                           GUS A. PALOIAN, not individually, but solely in
                                           his capacity as the Chapter 7 Trustee of the
                                           Debtor’s Estate,

                                           By: /s/ Devvrat Sinha

                                               Gus A. Paloian (06188186)
                                               James B. Sowka (6291998)
                                               Devvrat Sinha (6314007)
                                               SEYFARTH SHAW LLP
                                               233 South Wacker Drive
                                               Suite 8000
                                               Chicago, Illinois 60606
                                               Telephone: (312) 460-5000
                                               Facsimile: (312) 460-7000
                                               gpaloian@seyfarth.com
                                               jsowka@seyfarth.com
                                               dsinha@seyfarth.com

                                               Counsel to Chapter 7 Trustee, Gus A. Paloian



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                                    CERTIFICATE OF SERVICE

          I, Jennifer M. McManus, a non-attorney, certify that on January 9, 2019,1 caused a copy

of the attached Notice of Motion and the following Trustee’s Motion for Turnover of

Possession of Real Property to be served (i) electronically through the Court’s Electronic

Notice for Registrants on all persons identified as Registrants on the appended Service List, and

(ii) by first class U.S. Mail, postage fully pre-paid, to those other parties identified on the

attached Service List.



                                               By:       Q'JilhjL j ft!                  lAftfl&A
                                                         Jenifer      KlcManus



Subscribed and Sworn to before me
this 9th day of January, 2019
                                                                         JENNIFER B WOODS
                                                                           OFFICIAL SEAL
                                                                      Notary Public, State of Illinois
                                                                       My Commission Expires
                                                                          December 17, 2019
      x/yj         ft./E&sged.'
         N<   •y Public




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                              KOWALSKI SERVICE LIST

                                  Case No. 18-09130

SERVICE VIA CM/ECF

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VIA UNITED STATES MAIL



 5305-07 V. Leland Avenue Condominium            Robert M. Kowalski
 Association                                     1707 S. Newberry Avenue
 c/o Kovitz Shifrin Nesbit                       Chicago, IL 60608
 175 N. Archer Ave.
 Mundelein, IL 60060-2301

 AT&T Corp                                       ACAR Leasing LTD d/b/a GM Financial
 c/o AT&T Services, Inc.                         Leasing
 Karen Cavagnaro, Esq.                           PO Box 183853
 One AT&T Way, Room 3A104                        Arlington, TX 76096-3853
 Bedminster, NJ 07921-2693

 Ally Financial                                  Ally Bank
 Attn: Bankruptcy                                PO Box 130424
 PO Box 380901                                   Roseville MN 55113-0004
 Bloomington, MN 55438-0901

 Bombardier/CBNA                                 AmeriCredit/GM Financial
 P. O. Box 6000                                  Attn: Bankruptcy
 Sioux Falls, SD 57117-6000                      PO Box 183853
                                                 Arlington, TX 76096-3853

 Capital One Auto Finance                        Capital One Auto Finance
 AIS Portfolio Services, LP                      Attn: General Correspondence/BR
 4515 N Santa Fe Ave. Dept. APS                  PO Box 30285
 Oklahoma City, OK 73118-7901                    Salt Lake City, UT 84130-0285

 Capital One                                     Capital One Bank (USA), N.A.
 PO Box 30253                                    PO Box 71083
 Salt Lake City, UT 84130-0253                   Charlotte, NC 28272-1083

 Cardworks/CW Nexus                              Chase Card Services
 Attn: Bankruptcy                                Attn: Correspondence Dept
 PO Box 9201                                     PO Box 15298
 Old Bethpage, NY 11804-9001                     Wilmington, DE 19850-5298

 Chase Mortgage                                  Citibank/The Home Depot
 PO Box 24696                                    Citicorp Credit Services/Centralized
 Columbus, OH 43224-0696                         Bankruptcy
                                                 PO Box 790040
                                                 St Louis, MO 63179-0040




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 Citicards CBNA                                   Costco Go Anywhere Citicard
 Citicorp Credit Svc/Centralized Bankruptcy       Centralized Bk/Citicorp Credit Card Services
 PO Box 790040                                    PO Box 790040
 Saint Louis, MO 63179-0040                       St Louis, MO 63179-0040

 Credit One Bank NA                               Discover Bank
 PO Box 98873                                     Discover Products Inc
 Las Vegas, NV 89193-8873                         PO Box 3025
                                                  New Albany, OH 43054-3025

 Federal Deposit Insurance Corp                   First Premier Bank
 c/o Joyce Gist Lewis                             601 S Minnesota Ave
 1230 Peachtree Street NE Suite 1075              Sioux Falls, SD 57104-4868
 Atlanta, GA 30309-3626

 IL Dept. of Revenue Bankruptcy Section           Huntington National Bank
 PO Box 19035                                     Attn: Bankruptcy
 Springfield, IL 62794-9035                       PO Box 340996
                                                  Columbus, OH 43234-0996

 Illinois Bell Telephone Company                  Illinois Department of Revenue
 c/o AT&T Services, Inc.                          PO Box 64338
 Karen Cavagnaro, Esq.                            Chicago, IL 60664-0291
 One AT&T Way, Room 3A104
 Bedminster, NJ 07921-2693

 Internal Revenue Service                         JPMorgan Chase Bank, N.A.
 PO Box 7346                                      Chase Records Center
 Philadelphia, PA 19101-7346                      Attn: Correspondence Mail
                                                  Mail Code LA4-5555
                                                  700 Kansas Lane
                                                  Monroe, LA 71203-4774

 JPMorgan Chase Bank, NA                          Martha Padilla
 c/o Manley Deas Kochalski LLC                    1512 W. Polk
 P.O. Box 165028                                  Chicago, IL 60607-3119
 Columbus, OH 43216-5028

 Merrick Bank                                     Midland Loan Services
 Resurgent Capital Services                       c/o FDIC Portfolio Servicing
 PO Box 10368                                     P. O. Box 25965
 Greenville, SC 29603-0368                        Shawnee Mission, KS 66225-5965

 Piorun Properties LLC                            Parkway Bank & Trust
 1918 W. Cermak                                   4800 N. Harlem Avenue
 Chicago, IL 60608-4237                           Harwood Heights, IL 60706-3577



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 Syncb/PLCC                                   Premier Bankcard, LLC
 Attn: Bankruptcy                             Jefferson Capital Systems LLC Assignee
 PO Box 965060                                PO Box 7999
 Orlando, FL 32896-5060                       Saint Cloud, MN 56302-7999

 Washington Federal Bank for Savings          The Huntington National Bank
 c/o FDIC                                     P.O. Box 89424
 1601 Bryan Street                            Cleveland, OH 44101-6424
 Dallas, TX 75201-3401

 Indomitable, LLC                             Joel Levin
 1918 W. Cermak                               Levin & Associates
 Chicago, IL 60608-4237                       180 N. LaSalle Street, Suite 1822
                                              Chicago, IL 60601-2604

 Jan R. Kowalski, Esq.
 1918 West Cermak Road
 Chicago, IL 60608




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                                Case No. 18-09130
                                                      Chapter 7
ROBERT M. KOWALSKI,
                                                      Hon. Jacqueline P. Cox
                    Debtor.
                                                      Hearing Date: January 16, 2019
                                                      Hearing Time: 9:30 a.m.

   TRUSTEE’S MOTION FOR TURNOVER OF POSSESSION OF REAL PROPERTY

         Gus A. Paloian, not individually, but as the Chapter 7 trustee (the “Trustee”) for the

bankruptcy estate (the “Estate”) of Robert M. Kowalski (the “Debtor”) respectfully moves the

Court for the entry of an Order pursuant to 11 U.S.C. §§ 105(a), 362, 541 and 542: (a) directing

the Debtor and Debtor’s agents, including, but not limited to, Jan Kowalski (collectively, the

“Kowalskis”), to immediately turnover and deliver to the Trustee possession of the real property

commonly known as 1918 W. Cermak Road, Unit 1, Chicago, Illinois (the “Premises”).

                                   JURISDICTION & VENUE

         1.     The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) in which the Court may

constitutionally enter a final order, and the Trustee consents to the entry of a final order by the

Court. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.     This Motion is made pursuant to §§ 105(a), 362, 541 and 542 of title 11 of the

United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) and Rules 4002 and 9020

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                         BACKGROUND

         3.     On March 29, 2018, a voluntary petition for relief under Chapter 11 of the United

States Code (“Bankruptcy Code”) was filed by the Debtor.




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               On July 26, 2018, the Court entered an Order authorizing the appointment of a

Chapter 11 Trustee.

         4.    On August 3, 2018, the United States Trustee moved for the approval of its

appointment of Gus A. Paloian as the Chapter 11 Trustee for the Estate (Dkt. 101).

         5.    On August 7, 2018, an Order was entered approving the appointment of Gus A.

Paloian as Chapter 11 Trustee of the Estate (Dkt. 106).

         6.    On September 25, 2018 the Trustee filed a Motion to Convert Case to Chapter 7

(Dkt. 173).

         7.    On November 30, 2018, the Bankruptcy Court entered an order converting the

Case to one under Chapter 7 of the Bankruptcy Code (Dkt. 276).

         8.    On December 3, 2018 Gus A. Paloian, was appointed to serve as Chapter 7

Trustee in the Case (Dkt. 281).

         9.    The Debtor listed on his schedules ownership of the Premises.

         10.   The Premises are property of the Estate.

         11.   No lease for the Premises has been produced by the Debtor.

         12.   The Debtor maintains or maintained an office on the Premises. On information

and belief, the Debtor allows Jan Kowalski to occupy a portion of the Premises because Jan

Kowalski has a prominent sign on the street-facing window. A picture of the Premises is as

follows:




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         13.   No rent has been paid to the Estate since the appointment of the Trustee despite

demand to pay market rate rent.

         14.   A copy of the Trustee’s email dated September 13, 2018, to Jan Kowalski

demanding rent payment is attached hereto as Exhibit A. Jan Kowalski never responded. As

noted, no rent has been paid to the Estate by any occupant during the pendency of this Case.




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         15.     On December 18, 2018, the Trustee made demand for the turnover of possession

of the Premises. A copy of the Trustee’s email dated December 18, 2018 to the Debtor, and his

Counsels in this Case, Ernesto Borges and Jan Kowalski, is attached hereto as Exhibit B. No one

has responded.

         16.     Despite demand for possession of the Premises, the Debtor has failed and refused

to tender possession of the Premises.

                                       RELIEF REQUESTED

         17.     By this Motion, the Trustee seeks an Order pursuant to §§ 105(a), 362, 541 and

542 of the Bankruptcy Code and Bankruptcy Rule 4002 directing the Debtor and his agents,

including, but not limited to, Jan Kowalski, to immediately turnover and deliver to the Trustee

Possession of the Premises.

                                        BASIS FOR RELIEF

         18.     Property of the estate includes all legal and equitable interests of the debtor,

including all property, real or personal, in the Debtor’s possession. See 11 U.S.C. § 541(a);

Babbitt v. Dutcher, 216 U.S. 102, 105 (1910); Keller v. Blinder (In re Blinder, Robinson & Co.),

140 B.R. 790, 792-94 (D. Colo. 1992); Endeavor GP, LLC v. Endeavor Highrise, L.P. (In re

Endeavor Highrise, L.P.), 432 B.R. 583, 636 (Bankr. S.D. Tex. 2010); cf. Underwood v. Hilliard

(In re Rimsat, Ltd.), 98 F.3d 956, 965 (7th Cir. 1996) (interpreting the term “property” as used in

§ 543(b)).

         19.     Given the Estate’s clear entitlement to possession of the Premises and the

occupants refusal to pay rent, the Trustee respectfully requests that the Court order the Debtor

and his agents, including, but not limited to, Jan Kowalski, to immediately turnover and deliver

to the Trustee possession and custody of the Premises. Given the conversion of this Case to

Chapter 7, the Premises are not necessary to any reorganization effort by the Estate. Failure to




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turnover the Premises to the Estate prejudices the Estate in the form of lost rental revenue and

impairs the Estate’s ability to sell the Premises with uncooperative tenants in occupancy.

         20.     Further, the actions of the Debtor and Jan Kowalski including, but not limited to,

the Kowalskis refusal to turn over possession of the Premises are violations of the automatic

stay, which prohibits inter alia “any act to obtain possession of property of the estate or of

property from the estate or to exercise control over property of the estate.” 11 U.S.C. § 362(a)(3);

see, e.g., In re Stewart, 499 B.R. 557, 572 (Bankr. E.D. Mich. 2013) (conversion of property of

the estate violated § 362(a)(3)); see also Nat’l Tax Credit Partners, L.P. v. Havlik, 20 F.3d 706,

708 (7th Cir. 1994) (holding that § 362(a)(3) “encompass[es] every effort to exercise control

over property of the estate” (internal quotation marks omitted)). The Debtor and Jan Kowalski

are aware of the existence of the automatic stay and its prohibition against the acts to exercise

control over estate property, and nevertheless continue to maintain possession of the Premises in

violation of that prohibition. (See Ex. A, ¶ 6-11.)

         21.     Under the circumstances, to prevent further violations of the automatic stay

similar to those described in this Motion, the Trustee requests that the Court issue a rule to show

cause why the Debtor and Jan Kowalski not be held in civil contempt and sanctioned by

monetary penalty, or in such other manner as the Court may deem just, fair and conducive to

enforcing the stay and protecting the Court’s jurisdiction over estate property. See, e.g., Fidelity

Mortg. Inv’rs v. Camelia Builders, Inc., 550 F.2d 47, 52-55 (2d Cir. 1976), cert. denied, 429 U.S.

1093 (1977); Paloian v. Grupo Serla S.A. de C.V., 433 B.R. 19, 41 (N.D. Ill.) (“[A] bankruptcy

court may punish a violation of the automatic stay pursuant to its civil contempt powers codified

in § 105(a)”).

                                              NOTICE

         22.     The Trustee has given seven (7) days’ notice of this Motion to the U.S. Trustee,

the Debtor, the creditors, and other parties of interest in this case.

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         WHEREFORE, the Trustee respectfully requests that the Court enter an Order

substantially in the form of the attached proposed order:

         A.     Directing the Debtor and Jan Kowalski to immediately turnover and deliver to the

                Trustee possession of the Premises;

         B.     Prohibiting the Debtor and Jan Kowalski from interfering with the Estate’s

                possession, custody or control of the Premises;

         C.     Finding that the Debtor and Jan Kowalski have violated the automatic stay;

         D.     Issuing a rule to show cause why the Debtor and Jan Kowalski should not be held

                in contempt and sanctioned for violating the stay; and,

         E.     Granting such other or further relief as the Court deems just.

Dated: January 9, 2019                        Respectfully submitted,

                                              GUS A. PALOIAN, not individually, but solely in
                                              his capacity as the Chapter 7 Trustee of the
                                              Debtor’s Estate,

                                              By: /s/ Devvrat Sinha
                                              Gus A. Paloian (06188186)
                                              James B. Sowka (6291998)
                                              Devvrat Sinha (6314007)
                                              SEYFARTH SHAW LLP
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                                              jsowka@seyfarth.com
                                              dsinha@seyfarth.com

                                              Counsel to Chapter 7 Trustee, Gus A. Paloian




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